                            UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       No. 2:11-cr-003-1
                                             )       Judge Sharp
WILLIAM EARL McGUIRE, JR.                    )

               RESPONSE OF THE UNITED STATES TO PETITIONER’S
              MOTION REQUESTING JOHNSON SENTENCE REDUCTION

       Defendant McGuire filed a pro se motion requesting sentence reduction pursuant to

Johnson v. United States, 135 S.Ct. 2551 (2015). The Court appointed the Federal Public

Defender to represent McGuire. On September 13, 2016, McGuire’s appointed attorney filed a

supplemental brief, concluding that McGujre is entitled to no relief (D.E. 302).

       The United States concurs with the analysis contained in the supplemental brief. McGuire

has two qualifying prior drug convictions, which qualify him as a career offender and for the

enhancements contained in U.S.S.G. § 2K2.1, even if Johnson is ultimately held to be applicable

to those provisions. McGuire is entitled to no sentencing relief.

                                                     Respectfully submitted,

                                                     DAVID RIVERA
                                                     United States Attorney for the
                                                     Middle District of Tennessee

                                                     By: /s/ William L. Deneke
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                                  CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and exact copy of this pleading was provided by the
Court’s electronic filing system to Sumter Camp, attorney for William McGuire, on the 14th
day of September, 2016.
                                      /s/ William L. Deneke
                                  Assistant United States Attorney


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